                   IN THE UNITED STATES DISTRICT COURT FOR THE

                           WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

                              JUDGMENT IN A CIVIL CASE


ERICA BARRETT, et al.,                           )
                                                 )
             Plaintiffs,                         )
      v.                                         )
                                                 ) Case No. 22-3111-CV-S-BCW
O'REILLY AUTOMOTIVE, Inc., et al.,               )
                                                 )
             Defendants.                         )



         Jury Verdict. This action came before the Court for a trial by jury. The issues
      have been tried and the jury has rendered its verdict.

       X Decision by Court. This action came before the Court. The issues have been
      determined and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED that

      The Court orally grants Doc. No. 26 DEFENDANTS' MOTION TO DISMISS THE
      FIRST AMENDED CLASS ACTION COMPLAINT. Court further orally denies any
      request to amend the pleadings and dismisses Count 2 as set forth on the record.


      May 23, 2023                               Paige Wymore-Wynn
      Date                                       Clerk of Court

                                                 /s/ Tracy L. Diefenbach
                                                 (by) Deputy Clerk




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